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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :       Criminal No. 1:21-CR-00026
                                               :
v.                                             :       (Judge Conner)
                                               :
ROHAN LYTTLE                                   :       (Electronically Filed)

     MOTION TO CONTINUE PRETRIAL MOTIONS DEADLINE
       AND TO CONTINUE JURY SELECTION AND TRIAL

         AND NOW, comes the defendant, Rohan Lyttle, by his attorneys pending pro hac

vice approval, Andrew S. Rendeiro and Christopher Wright, and files this Motion to

Continue Pretrial Motions Deadline and to Continue Jury Selection and Trial, and in

support thereof avers as follows:

1. On February 17, 2021, Rohan Lyttle was charged in three counts on the instant

indictment with conspiracy to commit wire and mail fraud in violation of 18 U.S.C.

§1349 (Count 1); mail fraud in violation of 18 U.S.C. §1341 (Count 5) and, wire fraud in

violation of 18 U.S.C. §1343 (Count 6).

2. On March 31, 2021, Rohan Lyttle appeared before the Honorable Martin C. Carlson

and entered a plea of not guilty to the indictment.

3. Trial is scheduled for June 7, 2021, and pretrial motions are due on or before April 21,

2021.

4. As plea negotiations in this matter are ongoing, it is respectfully requested that the

deadline for filing pretrial motions be continued for 60 days and that trial be scheduled

thereafter.

5. Assistant United States Attorney Ravi R. Sharma, Esq., concurs in this continuance
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request.

       WHEREFORE, for the foregoing reasons, the defendant, Rohan Lyttle,

respectfully requests that this Honorable Court grant his Motion to Continue Pretrial

Motions Deadline and to Continue Jury Selection and Trial.

Date: April 20, 2021

                                                                  Respectfully submitted,

                                                                 /s/ Andrew S. Rendeiro
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                         CERTIFICATE OF SERVICE

We, Andrew S. Rendeiro and Christopher Wright, do hereby certify that I served a copy

of the foregoing Motion to Continue Pretrial Motions Deadline and to Continue Jury

Selection and Trial, via Electronic Case Filing.

Date: April 20, 2021

                                                                Respectfully submitted,

                                                                /s/ Andrew S. Rendeiro
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